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              EXHIBIT 14
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                                                                                                Order of August 14, 2020

                                                                                                Regarding the Acquisition of Musical.ly by ByteDance Ltd.

                                                                                                By the authority vested in me as President by the Constitution and the
                                                                                                laws of the United States of America, including section 721 of the Defense
                                                                                                Production Act of 1950, as amended (section 721), 50 U.S.C. 4565, it is
                                                                                                hereby ordered as follows:
                                                                                                Section 1. Findings. (a) There is credible evidence that leads me to believe
                                                                                                that ByteDance Ltd., an exempted company with limited liability incor-
                                                                                                porated under the laws of the Cayman Islands (‘‘ByteDance’’), through acquir-
                                                                                                ing all interests in musical.ly, an exempted company with limited liability
                                                                                                incorporated under the laws of the Cayman Islands (‘‘Musical.ly’’), might
                                                                                                take action that threatens to impair the national security of the United
                                                                                                States. As a result of the acquisition, ByteDance merged its TikTok applica-
                                                                                                tion with Musical.ly’s social media application and created a single integrated
                                                                                                social media application; and
                                                                                                   (b) Provisions of law, other than section 721 and the International Emer-
                                                                                                gency Economic Powers Act (50 U.S.C. 1701 et seq.), do not, in my judgment,
                                                                                                provide adequate and appropriate authority for me to protect the national
                                                                                                security in this matter.
                                                                                                Sec. 2. Actions Ordered and Authorized. On the basis of the findings set
                                                                                                forth in section 1 of this order, considering the factors described in subsection
                                                                                                (f) of section 721, as appropriate, and pursuant to my authority under
                                                                                                applicable law, including section 721, I hereby order that:
                                                                                                   (a) The transaction resulting in the acquisition by ByteDance of Musical.ly,
                                                                                                to the extent that Musical.ly or any of its assets is used in furtherance
                                                                                                or support of, or relating to, Musical.ly’s activities in interstate commerce
                                                                                                in the United States (‘‘Musical.ly in the United States’’), is hereby prohibited,
                                                                                                and ownership by ByteDance of any interest in Musical.ly in the United
                                                                                                States, whether effected directly or indirectly through ByteDance, or through
                                                                                                ByteDance’s subsidiaries, affiliates, or Chinese shareholders, is also prohib-
                                                                                                ited.
                                                                                                  (b) In order to effectuate this order, not later than 90 days after the
                                                                                                date of this order, unless such date is extended for a period not to exceed
                                                                                                30 days, on such written conditions as the Committee on Foreign Investment
                                                                                                in the United States (CFIUS) may impose, ByteDance, its subsidiaries, affili-
                                                                                                ates, and Chinese shareholders, shall divest all interests and rights in:
                                                                                                  (i) any tangible or intangible assets or property, wherever located, used
                                                                                                  to enable or support ByteDance’s operation of the TikTok application
                                                                                                  in the United States, as determined by the Committee; and
                                                                                                  (ii) any data obtained or derived from TikTok application or Musical.ly
                                                                                                  application users in the United States. Immediately upon divestment,
                                                                                                  ByteDance shall certify in writing to CFIUS that all steps necessary to
                                                                                                  fully and permanently effectuate the actions required under sections 2(a)
                                                                                                  and 2(b) have been completed.
                                                                                                  (c) Immediately upon divestment, ByteDance shall certify in writing to
                                                                                                CFIUS that it has destroyed all data that it is required to divest pursuant
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                                                                                                to section 2(b)(ii), as well as all copies of such data wherever located,
                                                                                                and CFIUS is authorized to require auditing of ByteDance on terms it deems
                                                                                                appropriate in order to ensure that such destruction of data is complete.
                                                                                                  (d) ByteDance shall not complete a sale or transfer under section 2(b)
                                                                                                to any third party:


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                                                                                                  (i) until ByteDance notifies CFIUS in writing of the intended recipient
                                                                                                  or buyer; and
                                                                                                  (ii) unless 10 business days have passed from the notification in section
                                                                                                  2(d)(i) and CFIUS has not issued an objection to ByteDance. Among the
                                                                                                  factors CFIUS may consider in reviewing the proposed sale or transfer
                                                                                                  are whether the buyer or transferee: is a U.S. citizen or is owned by
                                                                                                  U.S. citizens; has or has had a direct or indirect contractual, financial,
                                                                                                  familial, employment, or other close and continuous relationship with
                                                                                                  ByteDance, or its officers, employees, or shareholders; and can demonstrate
                                                                                                  a willingness and ability to support compliance with this order. In addition,
                                                                                                  CFIUS may consider whether the proposed sale or transfer would threaten
                                                                                                  to impair the national security of the United States or undermine the
                                                                                                  purpose of this order, and whether the sale effectuates, to CFIUS’s satisfac-
                                                                                                  tion and in its discretion, a complete divestment of all tangible or intangible
                                                                                                  assets or property, wherever located, used to enable or support the oper-
                                                                                                  ation of the TikTok application in the United States.
                                                                                                  (e) From the date of this order until ByteDance provides a certification
                                                                                                of divestment to CFIUS pursuant to section 2(b), ByteDance and TikTok
                                                                                                Inc., a Delaware corporation, shall certify to CFIUS on a weekly basis that
                                                                                                they are in compliance with this order and include a description of efforts
                                                                                                to divest the interests and rights described in section 2(b) and a timeline
                                                                                                for projected completion of remaining actions.
                                                                                                  (f) Any transaction or other device entered into or employed for the
                                                                                                purpose of, or with the effect of, evading or circumventing this order is
                                                                                                prohibited.
                                                                                                  (g) Without limitation on the exercise of authority by any agency under
                                                                                                other provisions of law, and until such time as the divestment is completed
                                                                                                and verified to the satisfaction of CFIUS, CFIUS is authorized to implement
                                                                                                measures it deems necessary and appropriate to verify compliance with
                                                                                                this order and to ensure that the operations of the TikTok application
                                                                                                are carried out in such a manner as to ensure protection of the national
                                                                                                security interests of the United States. Such measures may include the
                                                                                                following: on reasonable notice to ByteDance and TikTok Inc., employees
                                                                                                of the United States Government, as designated by CFIUS, shall be permitted
                                                                                                access, for purposes of verifying compliance with this order, to all premises
                                                                                                and facilities of ByteDance and TikTok Inc., and any of their respective
                                                                                                subsidiaries, operated in furtherance of the TikTok application located in
                                                                                                the United States:
                                                                                                  (i) to inspect and copy any books, ledgers, accounts, correspondence,
                                                                                                  memoranda, and other records and documents in the possession or under
                                                                                                  the control of ByteDance or TikTok Inc., or any of their respective subsidi-
                                                                                                  aries, that concern any matter relating to this order;
                                                                                                  (ii) to inspect or audit any information systems, networks, hardware, soft-
                                                                                                  ware, data, communications, or property in the possession or under the
                                                                                                  control of ByteDance or TikTok Inc., or any of their respective subsidiaries;
                                                                                                  and
                                                                                                   (iii) to interview officers, employees, or agents of ByteDance or TikTok
                                                                                                   Inc., or any of their respective subsidiaries, concerning any matter relating
                                                                                                   to this order. CFIUS shall conclude its verification procedures within
                                                                                                   90 days after the certification of divestment is provided to CFIUS pursuant
                                                                                                   to subsection (b) of this section.
                                                                                                   (h) If any provision of this order, or the application of any provision
                                                                                                to any person or circumstances, is held to be invalid, the remainder of
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                                                                                                this order and the application of its other provisions to any other persons
                                                                                                or circumstances shall not be affected thereby. If any provision of this
                                                                                                order, or the application of any provision to any person of circumstances,
                                                                                                is held to be invalid because of the lack of certain procedural requirements,
                                                                                                the relevant executive branch officials shall implement those procedural
                                                                                                requirements.


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                                                                                                  (i) The Attorney General is authorized to take any steps necessary to
                                                                                                enforce this order.
                                                                                                Sec. 3. Reservation. I hereby reserve my authority to issue further orders
                                                                                                with respect to ByteDance, Musical.ly, Musical.ly in the United States, and
                                                                                                TikTok Inc. as shall in my judgment be necessary to protect the national
                                                                                                security.
                                                                                                Sec. 4. Publication and Transmittal. (a) This order shall be published in
                                                                                                the Federal Register.
                                                                                                  (b) I hereby direct the Secretary of the Treasury to transmit a copy of
                                                                                                this order to the appropriate parties named in section 1 of this order.




                                                                                                THE WHITE HOUSE,
                                                                                                August 14, 2020.


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